                                                 U.S. Department of Justice

                                                 United States Attorney
                                                 Northern District of Iowa



                                                 111 Seuenth Auenue, SE       319-363-6333
                                                 Box1                         319-363-1990 (fax)
                                                 Cedar &pids, IA 52401-2101   319-286-9258 (tty)


                                                April 19, 2016

Mr. Joseph Herrold
Assistant Federal Public Defender
400 Locust Street
Suite 340, Capital Square
Des Moines, IA 50309-9610

      Re:    United States v. Landon Nathanson-Love, No. 16-CR-1011-1-LRR

Dear Mr. Herrold:

       This letter will serve as a memorandum of a proposed plea agreement
between the United States Attorney's Office for the Northern District of Iowa and
Landon Nathanson-Love, defendant. All references to the "United States" or
"government" in this proposed plea agreement refer to the United States Attorney's
Office for the Northern District of Iowa and to no other governmental entity. This
plea offer will expire on April 20, 2016, at noon, unless otherwise extended by the
government. The government has made no prior plea offers in this case.
                          CHARGES AND PENALTIES
      1. LL Defendant will plead guilty to Count 1 of the Superseding
Indictment filed on March 22, 2016. Count 1 charges Prohibited Person in
Possession of a Firearm, in violation of 18 U.S.C. § 922(g)(3).

       2. L L Defendant understands that Count 1 of the Indictment is
punishable by the following maximum penalties: (1) not more than 10 years'
imprisonment without the possibility of parole; (2) a fine of not more than $250,000;
(3) a mandatory special assessment of $100; and (4) a term of supervised release of
not more than 3 years. Defendant also understands that if the court finds
defendant has three previous convictions for a violent felony or a serious drug
offense, or both, committed on occasions different from one another, then pursuant
to 18 U.S.C. § 924(e)(1), Count 1 is punishable by a mandatory minimum sentence
of 15 years' imprisonment without the possibility of parole and the following
maximum penalties: (1) not more than life imprisonment without the possibility of
parole; (2) a fine of not more than $250,000; (3) a mandatory special assessment of
$100; and (4) a term of supervised release of not more than 5 years.                               Government
                                                                                                     Exhibit
                                                                                                     1 (Plea)
                                                                                                       Case
                                                                                                   16-CR-1011-1
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       3. L L Defendant understands restitution and a term of supervised release
following incarceration may be imposed in addition to any other sentence.
Defendant further acknowledges that, if defendant violates, at any time, any
condition of supervised release, defendant could be returned to prison for the full
term of supervised release and the Court is not required to grant credit for any
amount of time defendant may have successfully completed on supervised release.
Defendant also understands the U.S. Sentencing Guidelines will provide advisory
guidance to the Court in determining a sentence in this case.

       4. LL. At the time the guilty plea is entered, defendant will admit that
defendant is guilty of the charge specified in Paragraph 1 of this agreement. Mter
sentencing, the government will move for dismissal of any remaining counts. The
U.S. Attorney's Office for this District will file no additional Title 18 firearms-
related criminal charges based solely upon information now in our possession. If
this office becomes aware of evidence of additional crimes warranting criminal
prosecution, all information in our possession could be used in such a prosecution.

       5. LL Defendant understands and agrees defendant has the absolute right
to plead guilty before a United States District Court Judge. However, if convenient
to the Court, defendant agrees to waive and give up this right and to plead guilty
before a United States Magistrate Judge. Defendant understands defendant will
not be found guilty unless the United States District Court Judge accepts the plea
of guilty or adopts a recommendation of the Magistrate Judge to accept such plea.
Defendant agrees to execute the attached consent to proceed before the United ·
States Magistrate Judge.

                              NON-COOPERATION
       6. L &... Defendant understands and concedes that, although defendant is
not required by the terms of this plea agreement to testify before any Court or
grand jury, the United States may take the prescribed actions under 18 U.S.C.
§ 6001, et. seq. or any other applicable provision oflaw to compel defendant's
testimony. Defendant agrees that, if defendant refuses to testify after being
granted immunity and ordered by the Court to testify, defendant may be found to be
in contempt of court and may be punished in accordance with Federal Rule of
Criminal Procedure 42 and 18 U.S.C. §§ 401 and 402. Further, the United States
Attorney's Office shall be permitted to pursue any other action available to require
defendant's testimony or punish defendant's refusal to testify subsequent to any
order requiring defendant to testify. Defendant understands and agrees that,
because defendant is not cooperating with the government, the United States will
not recommend any decrease under §5K1.1 or any other provision of the United


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States Sentencing Guidelines or under 18 U.S.C. § 3553(e) or any other provision of
law.

                            STIPULATION OF FACTS
       7. l..L By initialing each of the following paragraphs, defendant stipulates
to the following facts. Defendant agrees these facts are true and may be used to
establish a factual basis for defendant's guilty plea, sentence, and any forfeiture.
Defendant has been advised by defendant's attorney of defendant's rights under
Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence 410.
Defendant waives these rights and agrees this stipulation may be used against
defendant at any time in any proceeding should defendant violate or refuse to follow
through on this plea agreement, regardless of whether the plea agreement has been
accepted by the Court. Defendant agrees that the stipulation below is a summary of
the facts against defendant and does n<?t constitute all of the facts the government
would be able to prove at trial and may be able to prove to the Court in accordance
with this agreement.

       LL A.   On May 29, 2015, defendant applied to the Dubuque County Sheriff,
               at Dubuque, Iowa, within the Northern District of Iowa, for a non-
               professional permit to carry weapons. On his written application
               form, defendant falsely stated that he was not "an unlawful user of ..
               . any controlled substance." In truth, defendant was an unlawful user
               of marijuana, a Schedule I controlled substance as defined in 21
               U.S.C. § 802, throughout 2015 and until his arrest on February 16,
               2016. Based in part on defendant's false statement, which defendant
               certified under penalty of law, the Dubuque County Sheriff issued
               defendant his requested non-professional permit to carry weapons on
               June 3, 2015.

       LL B. On February 15, 2016, using the aforementioned permit to carry,
               defendant purchased a firearm, namely, a Taurus Model TCP 738,
               .380 pistol, bearing serial number 17089E ("the firearm"), from Tony's
               Jewelry & Loan (TJ&L), in the City of Dubuque, Iowa, a licensed
               dealer of firearms. Defendant knowing made a false and fictitious
               statement to TJ&L, namely, the false statement on a Bureaus of
               Alcohol, Tobacco, Firearms, and Explosives Form 4473, Firearms
               Transaction Record, to the effect that he was not "an unlawful user of
               ... marijuana" when, in truth, defendant was still an unlawful user
               of marijuana, a Schedule I controlled substance as defined in 21
               u.s.c. § 802.

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       LL C.     From about February 15, 2016, through about February 16, 2016,
                 defendant possessed the firearm in Dubuque, Iowa, within the
                 Northern District of Iowa.

       LLD.      The firearm was manufactured outside the State of Iowa before
                 February 15, 2016. Therefore, prior to February 15, 2016, the firearm
                 travelled in interstate commerce.

       l..L E.   As indicated in Paragraph A above, at the time defendant possessed
                 the firearm from about February 15, 2016, through about February
                 16, 2016, defendant was an unlawful user of marijuana, a Schedule I
                 controlled substance as defined in 21 U.S.C. § 802.

                            SENTENCING PROVISIONS
       8. L L Defendant understands and agrees to be sentenced based on facts to
be found by the sentencing judge by a preponderance of the evidence and agrees
facts essential to the punishment need not be (1) charged in the Indictment; (2)
proven to a jury; or (3) proven beyond a reasonable doubt. Defendant agrees the
Court will determine the appropriate sentence after considering a variety of factors,
including: (1) the nature and circumstances of the offense and the history and
characteristics of defendant; (2) the need for the sentence imposed to reflect the
seriousness of the offense, to promote respect for the law, and to provide just
punishment for the offense; (3) the need for the sentence to afford adequate
deterrence to criminal conduct; (4) the need for the sentence to protect the public
from further crimes of defendant; (5) the need for the sentence to provide defendant
with needed educational or vocational training, medical care, or other correctional
treatment in the most effective manner; (6) the need to avoid unwarranted
sentencing disparities among defendants with similar criminal records who have
been found guilty of similar conduct; and (7) the need to provide restitution to any
victims of the offense. Defendant understands the Court will also consider the
kinds of sentence and the sentencing range established by the United States
Sentencing Guidelines for the applicable category of offense(s) committed by
defendant and wm consider any perti.nent policy statements iBBued as part of the
Guidelines. The Court will consider relevant adjustments under the United States
Sentencing Guidelines, which will include a review of such things as defendant's
role in the offense, criminal history, acceptance or lack of acceptance of
responsibility, and other considerations. The Court may also consider other
information including any information concerning the background, character, and
conduct of defendant.



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       9. LL During plea negotiations the parties may have discussed how
various factors could impact the Court's sentencing decision and the determination
of the advisory sentencing guidelines range. The parties agree, however, that
discussions did not result in any express or implied promise or guarantee
concerning the actual sentence to be imposed by the Court. Defendant understands
the Court is not bound by the stipulations of the parties, nor is it bound by the
sentencing range as determined pursuant to the sentencing guidelines. This plea
agreement provides for no guarantee concerning the actual sentence to be imposed.
Defendant further understands defendant will have no right to withdraw
defendant's guilty plea if the sentence imposed is other than defendant hoped for or
anticipated.

      10. LL The parties stipulate and agree the United States Sentencing
Guidelines should be applied, at least, as follows:

      _lLA. Firearm Offense Level (Chapter 2): For Count 1, pursuant to
              USSG §2K2.1(a), the base offense level is at least 14.

      _LLB. Acceptance of Responsibility (Chapter 3 adjustment): The
            United States agrees for purposes ofUSSG §3El.1(b) that defendant
            timely notified authorities of defendant's intention to enter a guilty
            plea.

      _LLc. Criminal History (Chapter 4): No agreement has been reached
              regarding defendant's criminal history. The parties reserve the right
              to contest the Probation Office's determination of defendant's
              criminal history and criminal history category under Chapter Four of
              the sentencing guidelines. In addition, defendant understands that,
              if defendant's criminal history would result in a higher base offense
              level under any guideline, the government is free to seek such a base
              offense level.

       LLn.   Departure- USSG §5Kl.l and 18 U.S.C. § 3553(e): The United
              States will not make a motion for downward departure under §5K1.1
              or any other provision of the United States Sentencing Guidelines or
                                                                                       i
              under 18 U.S.C. § 3553(e) or any other provision oflaw.                      I




      _LLE. No other agreements have been reached, and the parties are free to
            litigate any and all other applicable adjustments, departures, or
            cross-references under the United States Sentencing Guidelines, and



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              any variances of any kind from the advisory guideline range, in any
              amount, in either direction.

       11. LL Defendant, defendant's attorney, and the United States may make
whatever comment and evidentiary offer they deem appropriate at the time of the
guilty plea, sentencing, or any other proceeding related to this case, so long as the
offer or comment does not violate any other provision of this agreement. The
parties are also free to provide all relevant information and controlling authority to
the Probation Office and Court for use in preparing and litigating adjustments,
enhancements, or departures scored in the presentence report, including offering
statements made by defendant at any time.

      12. LL The parties are free to contest or defend any ruling of the Court,
unless otherwise limited by this agreement, on appeal or in any other post-
conviction proceeding.

                        CONDITIONS OF SUPERVISION
       13. L L If probation or a term of supervised release is ordered, the parties
are free to seek whatever conditions they deem appropriate.

                 POTENTIAL FOR DEPARTURE OR CREDIT
       14. LL Defendant understands and agrees the United States will not
make a motion for downward departure under §5Kl.1 or any other provision of the
United States Sentencing Guidelines or under 18 U.S.C. § 3553(e) or any other
provision of law.

                              FINANCIAL MATTERS
       15. LL Defendant agrees to pay a special assessment of $100 as required
by 18 U.S.C. § 3013. Defendant may pay the special assessment to the Clerk of
Court by credit card or use the enclosed payment coupon. Defendant or defendant's
representative will send or deliver the special assessment payment to the U.S.
District Clerk of Court, 111 Seventh Avenue, SE, Box 12, Cedar Rapids, IA 52401.
lf defendant does not pay the Clerk of Court by credit card, payment must be jn the
form of a money order made out to the "U.S. District Clerk of Court." The special
assessment must be paid before this signed agreement is returned to the U.S.
Attorney's Office. If defendant fails to pay the special assessment prior to the
sentencing, defendant stipulates that a downward adjustment for acceptance of
responsibility under USSG §3El.l is not appropriate unless the Court finds
defendant has no ability to pay prior to the sentencing.



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                                 FORFEITURE
        16. LL Defendant agrees to forfeit and abandon any and all claim to items
seized by law enforcement from defendant at the time of any arrest or search,
including defendant's arrest and the search of the vehicle in which defendant was
driving on February 16, 2016. Defendant also waives any right to additional notice
of the forfeiture and abandonment of such property. Defendant stipulates this plea
agreement constitutes notice under Local Criminal Rule 57 .3(c) regarding the
disposal of any exhibits or evidence related to this matter. Defendant understands
that, from this date forward, any local, state, or federal law enforcement agency
may take custody of and use, dispose of, and transfer these items in any way the
agency deems appropriate.

       17. LL Defendant agrees to voluntarily disclose, forfeit, abandon, give up,
and give away to the United States, or any law enforcement agency designated by
the United States, prior to the date of sentencing herein, any right, title and
interest defendant may have in property subject to forfeiture under the United
States Code, including 18 U.S.C. § 922, 21 U.S. C.§§ 853 and 881, and 18 U.S.C.
§§ 924, 981 and 982, and any right, title and interest defendant may have in the
following items:

      A.    all controlled substances that have been possessed in violation of
            federal law, all raw materials, products, and equipment of any kind
            that are or have been used, or intended for use, in manufacturing,
            compounding, processing, delivering, importing, or exporting any
            controlled substance in violation of federal law;

      B.    all property that is or has been used or intended for use as a container
            for the items referred to in subparagraph A;

      C.    all conveyances, including aircraft, vehicles, or vessels, that are or
            have been used, or are intended for use, to transport or in any manner
            to facilitate the transportation, sale, receipt, possession, or
            concealment of items referred to in subparagraph A;

      D.    all monies, negotiable instruments, securities, or other things of value,
            furnished or intended to be furnished by any person in exchange for a
            controlled substance in violation of federal drug laws, and all proceeds
            traceable to such an exchange, and all monies, negotiable instruments,
            and securities used or intended to be used to facilitate any violation of
            federal drug laws;



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      E.    all real property, including any right, title, and interest in the whole of
            any lot or tract of land and any appurtenances or improvements used,
            or intended to be used, in any manner or part to commit or to facilitate
            the commission of any violation of a federal drug law that is a felony;

      F.     any and all firearms and ammunition in defendant's care, custody or
             control during the time period of defendant's illegal conduct; and

      G.     any other property deemed forfeitable under the provisions of 21
             U.S.C. § 853 and/or§ 881.

      H.     all firearms, ammunition, destructive devices, silencers, weapons
             modification kits, and gunpowder seized on February 16, 2016. This
             specifically includes, but is not limited to, the following: a Taurus
             Model TCP 738, .380 pistol, bearing serial number 17089E, and any
             ammunition therein.

      I.     all firearms, ammunition, destructive devices, silencers, weapons
             modification kits, and gunpowder presently in defendant's home,
             garage, place ofbusiness, rental storage facility, safety deposit box, or
             under defendant's control; and

      J.     all firearms, ammunition, destructive devices, silencers, weapons
             modification kits, and gunpowder held by another person or entity for
             or at the request of defendant.

                              GENERAL MATTERS
      18. L L Defendant shall not violate any local, state, or federal law during
the pendency of this agreement. Any law violation, with the exception of speeding
or parking violations, committed by defendant will constitute a breach of this
agreement and may result in the revocation of the entire agreement or any of its
terms. Defendant or defendant's attorney shall notify this office within 48 hours if
defendant is questioned, charged, or arrested for any law violation.
       19. L.l- If defendant violates any term or condition of this plea agreement,
in any respect, the entire agreement will be deemed to have been breached and may
be rendered null and void by the United States. Defendant understands, however,
the government may elect to proceed with the guilty plea and sentencing. These
decisions shall be in the sole discretion of the United States. If defendant does
breach this agreement, defendant faces the following consequences: (1) all



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testimony and other information defendant has provided at any time (including any
stipulations in this agreement) to attorneys, employees, or law enforcement officers
of the government, to the Court, or to the federal grand jury may and will be used
against defendant in any prosecution or proceeding; (2) the United States will be
entitled to reinstate previously dismissed charges and/or pursue additional charges
against defendant and to use any information obtained directly or indirectly from
defendant in those additional prosecutions; and (3) the United States will be
released from any obligations, agreements, or restrictions imposed upon it under
this plea agreement.

       20. LL Defendant waives all claims defendant may have based upon the
statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the
Sixth Amendment to the Constitution. Defendant also agrees any delay between
the signing of this agreement and the final disposition· of this case constitutes
excludable time under 18 U.S. C.§ 3161 et seq. (the Speedy Trial Act) and related
provisions.

       21. l L Any dismissal of counts or agreement to forego filing charges is
conditional upon final resolution of this matter. If this agreement is revoked or
defendant's conviction is ultimately overturned, the United States retains the right
to reinstate previously dismissed counts and to file charges that were not ftled
because of this agreement. Dismissed counts may be reinstated and uncharged
offenses may be filed if: (1) the plea agreement is revoked, or (2) defendant
successfully challenges defendant's conviction through a final order in any appeal,
cross-appeal, habeas corpus action, or other post-conviction relief matter. A final
order is an order not subject to further review or an order that no party challenges.
The United States may reinstate any dismissed counts or ftle any uncharged
offenses within 90 days of the filing date of the final order. Defendant waives all
constitutional and statutory speedy trial rights defendant may have. Defendant
also waives all statute of limitations or other objections or defenses defendant may
have related to the timing or timeliness of the filing or prosecution of charges
referred to in this paragraph.
       ACKNOWLEDGMENT OF DEFENDANT'S UNDERSTANDING

       22. 1 I     Defendant acknowledges defendant has read each of the provisions
of this entire plea agreement with the assistance of counsel and understands its
provisions. Defendant has discussed the case and defendant's constitutional and
other rights with defendant's attorney. Defendant understands that, by entering a
plea of guilty, defendant will be giving up the right to plead not guilty; to trial by


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jury; to confront, cross-examine, and compel the attendance of witnesses; to present
evidence in defendant's defense; to remain silent and refuse to be a witness by
asserting defendant's privilege against self-incrimination; and to be presumed
innocent until proven guilty beyond a reasonable doubt. Defendant agrees
defendant's attorney has represented defendant in a competent manner and has no
complaints about that lawyer's representation. Defendant states defendant is not
now on or under the influence of, any drug, medication, liquor, or other substance,
whether prescribed by a physician or not, that would impair defendant's ability to
fully understand the terms and conditions of this plea agreement.

       23. LL Defendant acknowledges defendant is entering into this plea
agreement and is pleading guilty freely and voluntarily because defendant is guilty
and for no other reason. Defendant further acknowledges defendant is entering into
this agreement without reliance upon any discussions between the government and
defendant (other than those specifically described in this plea agreement), without
promise of benefit of any kind (other than any matters contained in this plea
agreement), and without threats, force, intimidation, or coercion of any kind.
Defendant further acknowledges defendant's understanding of the nature of each
offense to which defendant is pleading guilty, including the penalties provided by
law.

       24. L l Defendant further understands defendant will be adjudicated
guilty of each offense to which defendant will plead guilty and will thereby be
deprived of certain rights, including, but not limited to, the right to vote, to hold
public office, to serve on a jury, and to possess firearms and ammunition.
Defendant understands the government reserves the right to notify any state or
federal agency by whom defendant is licensed, or with whom defendant does
business, of the fact of defendant's conviction.

                                   VERIFICATION
       25. LL This letter constitutes the entire agreement between the parties.
No other promises of any kind, express or implied, have been made to defendant by
the United States or its agents. No additional agreement may be entered into
unless in writing and signed by all parties. The agreement will not be deemed to be
valid unless and until all signatures appear where indicated below.

      If this agreement is acceptable, please have your client indicate acceptance by
placing initials on the line preceding each of the above paragraphs and by signing
below where indicated. By initialing each paragraph and signing below, defendant
acknowledges defendant has read, fully understands, and agrees to each paragraph


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of this agreement. Please return all enclosures, completed and signed, with this
signed letter to the U.S. Attorney's Office.

       Please complete the enclosed Consent to Proceed Before the Magistrate
Judge. This document is needed to allow the Magistrate Judge to receive
defendant's guilty plea. After the signed Consent form and plea agreement are
received, the government will ask the Court to schedule the guilty plea hearing.

      Finally, please remember to pay the special assessment as agreed above.

      Thank you for your cooperation.

                                             Sincerely,

                                             KEVIN W. TECHAU
                                             United States Attorney

                                             By,~ Y. .?J~·.J(
                                             TIMOTHY L. VAVRICEK
                                             Assistant United States Attorney

ENCLOSURES:
Special Assessment Payment Coupon
Abandonment Declaration
Consent to Proceed Before Magistrate Judge



The undersigned defendant, with advice of counsel, accepts the terms of this plea
agreement. The undersigned Assistant United States Attorney accepts the terms of
the executed plea agreement.




                                               Assistant United States Attorney




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        Attorney for Defendant




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